

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,805






EX PARTE DARRYL WASHINGTON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. F94-61422-TQ 


	IN THE 204TH JUDICIAL DISTRICT COURT FROM DALLAS COUNTY





	Per curiam.

		

O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated
robbery and sentenced to ninety-nine years' imprisonment.  The Fifth Court of Appeals affirmed his
conviction.  Washington v. State, No. 05-96-00638-CR (Tex. App.-Dallas, September 22,1998).

	Applicant has now obtained affidavits and testimony from four men who admit that they are
the perpetrators of the instant offense and Applicant was not involved in any way.  Applicant alleges
that these sworn statements show that he is actually innocent of the offense for which he is
convicted.

	The trial court has determined that the newly obtained statements are credible and that
Applicant has proven that he is actually innocent. The State and the trial court both recommend
granting relief.  Applicant is entitled to relief on the basis of actual innocence. 

	Relief is granted.  The judgment in Cause No. F94-61422-TQ in the 204th Judicial District
Court of Dallas County is set aside, and Applicant is remanded to the Dallas County Sheriff to
answer the charge against him.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.


Delivered: May 23, 2012

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